               Case 2:14-cr-00014-LGW-BWC Document 247 Filed 09/29/14 Page 1 of 1




                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                             BRUNSWICK DIVISION




              UNITED STATES OF AMERICA,

                    V.                                              CASE NO.: CR214-014


              DEDRICK JEDELL WILKERSON
                a/k/a "Deek'




                                                      [.J1'J


                    The Court has been advised that all motions filed by Dedrick Jedell Wilkerson have

              been resolved by the parties.

                    Accordingly, all such resolved motions are hereby DISMISSED as moot.
                    SO ORDERED, this          2 ,7 ) d ay of September, 2014.




AO 72A
(Rev. 8182)
